CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 1 of 7
CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 2 of 7
CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 3 of 7
CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 4 of 7
CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 5 of 7
CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 6 of 7
CASE 0:14-cr-00362-DWF-SER Document 80 Filed 10/22/15 Page 7 of 7
